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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              8:12CR107
                     Plaintiff,              )
                                             )
       vs.                                   )               ORDER
                                             )
TAMMY L. SCHUCK,                             )
TABATHA N. ASHBURN and                       )
CHRISTOPHER J. TIERNEY,                      )
                                             )
                     Defendants.             )
       This matter is before the court on the oral motion of the government and the
defendants for an extension of the discovery and pretrial motion deadlines The motion
was made during the arraignment on the Indictment on May 9, 2012. Each defendant
agreed to the motion and acknowledged the additional time needed for their motion would
be excluded under the calculations under the Speedy Trial Act. The oral motion was
granted.
       IT IS ORDERED:
       1.     The motion for an extension of time for discovery and to file pretrial motions
is granted. The parties shall have to on or before May 23, 2012, in which to complete
discovery and shall have to on or before June 29, 2012, in which to file pretrial motions
in accordance with the progression order.
       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendants in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., from May 9, 2012, through June 29, 2012,
shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendants’ counsel require additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 9th day of May, 2012.
                                                      BY THE COURT:
                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
